Case 3:19-cr-00141-RV Document 131 Filed 01/28/21 Page 1 of 7
Case 3:19-cr-00141-RV Document 131 Filed 01/28/21 Page 2 of 7
Case 3:19-cr-00141-RV Document 131 Filed 01/28/21 Page 3 of 7
Case 3:19-cr-00141-RV Document 131 Filed 01/28/21 Page 4 of 7
Case 3:19-cr-00141-RV Document 131 Filed 01/28/21 Page 5 of 7
Case 3:19-cr-00141-RV Document 131 Filed 01/28/21 Page 6 of 7
Case 3:19-cr-00141-RV Document 131 Filed 01/28/21 Page 7 of 7
